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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                              )
             In re:                           )      Chapter 11
                                              )
             GSP PROPERTIES, LLC              )      Case No. 20-11569 (___)
                                              )
                     Debtor.                  )      Tax I.D. No. XX-XXXXXXX
                                              )
                                              )
             In re:                           )      Chapter 11
                                              )
             PYXUS INTERNATIONAL, INC.        )      Case No. 20-11570 (___)
                                              )
                     Debtor.                  )      Tax I.D. No. XX-XXXXXXX
                                              )
                                              )
             In re:                           )      Chapter 11
                                              )
             ALLIANCE ONE INTERNATIONAL, LLC )       Case No. 20-11571 (___)
                                              )
                     Debtor.                  )      Tax I.D. No. XX-XXXXXXX
                                              )
                                              )
             In re:                           )      Chapter 11
                                              )
             ALLIANCE ONE NORTH AMERICA, LLC )       Case No. 20-11572 (___)
                                              )
                     Debtor.                  )      Tax I.D. No. XX-XXXXXXX
                                              )
                                              )
             In re:                           )      Chapter 11
                                              )
             ALLIANCE ONE SPECIALTY PRODUCTS, )      Case No. 20-11573 (___)
             LLC                              )
                                              )      Tax I.D. No. XX-XXXXXXX
                     Debtor.                  )
                                              )




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                           DEBTORS’ MOTION FOR ENTRY OF AN ORDER
                      DIRECTING JOINT ADMINISTRATION OF CHAPTER 11 CASES


                          Pyxus International, Inc. (“Pyxus”) and its affiliated debtors and debtors in

         possession (collectively, the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11

         Cases”) respectfully submit this motion (the “Motion”) for the entry of an order, substantially in

         the form attached as Exhibit A (the “Proposed Order”), pursuant to section 342(c)(1) of title 11

         of the United States Code, 11 U.S.C. §§ 101–1532 (the “Bankruptcy Code”), Rules 1005, 1015(b)

         and 2002(n) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Rule

         1015-1 of the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy

         Court for the District of Delaware (the “Local Rules”), directing the joint administration of the

         Chapter 11 Cases for procedural purposes only and granting related relief. In support of this

         Motion, the Debtors submit the Declaration of Joel Thomas, Executive Vice President and Chief

         Financial Officer of Debtor Pyxus International, Inc., in Support of the Chapter 11 Petitions and

         First Day Pleadings (the “First Day Declaration”)1 filed contemporaneously herewith, and

         respectfully state as follows:

                                                       BACKGROUND

                          1.       On the date hereof (the “Petition Date”), each of the Debtors commenced a

         voluntary case under chapter 11 of the Bankruptcy Code with the United States Bankruptcy Court

         for the District of Delaware (the “Court”). The Debtors continue to operate their businesses and

         manage their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the

         Bankruptcy Code. No official committees have been appointed in these Chapter 11 Cases and no

         request has been made for the appointment of a trustee or examiner.


         1
          All capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
         First Day Declaration.
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                        2.      Prior to the Petition Date, the Debtors executed a Restructuring Support

         Agreement, dated June 14, 2020, (the “RSA”) with the Consenting Noteholders (as defined

         therein) holding over 92% of the First Lien Notes and 67% of the Second Lien Notes. The RSA

         contemplates a joint chapter 11 prepackaged plan (the “Plan”) that effectuates a comprehensive

         balance sheet restructuring without impairing any of the Debtors’ general unsecured creditors,

         including any of the Company’s domestic or international vendors, employees, customers or

         working capital lenders. Concurrently with this Motion, the Debtors have filed the Plan and the

         related Disclosure Statement (as defined in the Plan). The Debtors commenced solicitation of the

         Plan on June 14, 2020, and the solicitation period will continue until July 20, 2020. The Debtors

         expect the Plan to be approved by all classes entitled to vote given that the Consenting Noteholders,

         who hold over 66 2/3% of the claims in each voting class, have committed to support the Plan.

         The relief sought herein is consistent with such treatment and is supported by the Consenting

         Noteholders and the DIP Lenders.

                        3.      Additional information regarding the Debtors’ businesses, capital structure

         and the events leading up to the Petition Date is set forth in the First Day Declaration, which is

         fully incorporated herein by reference.

                                          JURISDICTION AND VENUE

                        4.      This Court has jurisdiction to consider this Motion under 28 U.S.C. §§ 157

         and 1334 and the Amended Standing Order of Reference from the United States District Court for

         the District of Delaware dated as of February 29, 2012. This is a core proceeding pursuant to 28

         U.S.C. § 157(b), and, under Local Rule 9013-1(f), the Debtors consent to the entry of a final order

         by the Court in connection with this Motion to the extent that it is later determined that the Court,

         absent consent of the parties, cannot enter final orders or judgments in connection herewith

         consistent with Article III of the United States Constitution. Venue of these Chapter 11 Cases and
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         this Motion in this district is proper under 28 U.S.C. §§ 1408 and 1409. The statutory and legal

         predicates for the relief requested herein are section 342(c)(1) of the Bankruptcy Code, Bankruptcy

         Rules 1005, 1015(b) and 2002(n) and Local Rules 1015-1 and 9013-1.

                                                 RELIEF REQUESTED

                          5.      By this motion, pursuant to Bankruptcy Rule 1015(b) and Local Rule 1015-

         1, the Debtors request entry of an order, substantially in the form attached as Exhibit A, directing

         procedural consolidation and joint administration of the Chapter 11 Cases.

                          6.      In addition, the Debtors request that the caption of the Chapter 11 Cases in

         all pleadings and notices in the jointly administered cases be as follows:

                                    IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF DELAWARE

                                                               §
             In re:                                            §     Chapter 11
                                                               §
             PYXUS INTERNATIONAL, INC., et al.,                §
                                                               §     Case No. 20-11570 (__)
                                      Debtors.                 §
                                                               §     (Joint Administration Requested)
                                                               §
                                                               §

                          7.      The Debtors also seek waiver of the requirements of section 342(c)(1) of

         the Bankruptcy Code and Bankruptcy Rules 1005 and 2002(n) that the case caption on pleadings

         and notices in these cases contain the name, tax identification number, address of each Debtor and

         any names used by each Debtor in the previous eight (8) years. As an alternative to including this

         information in each caption, the Debtors propose to include the following footnote to each pleading

         filed and notice mailed by the Debtors, listing the Debtors in these Chapter 11 Cases and the last

         four digits of their tax identification numbers along with the address of the Debtors’ corporate

         headquarters:



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                          The Debtors in the Chapter 11 Cases, along with the last four digits
                          of each Debtor’s United States federal tax identification number,
                          are: Pyxus International, Inc. (6567), Alliance One International,
                          LLC (3302), Alliance One North America, LLC (7908), Alliance
                          One Specialty Products, LLC (0115) and GSP Properties, LLC
                          (5603). The Debtors’ mailing address is 8001 Aerial Center
                          Parkway, Morrisville, NC 27560-8417.

                          8.      The Debtors also request that the Court make separate docket entries in each

         of the Debtors’ Chapter 11 Cases (except that of Pyxus International, Inc.), substantially similar to

         the following:

                          An order has been entered in this case consolidating this case with
                          the case of Pyxus International, Inc. (Case No. 20-11570 (__)) for
                          procedural purposes only and providing for its joint administration
                          in accordance with the terms thereof. The docket in Case No. 20-
                          11570 (__) should be consulted for all matters affecting this case.

                                         BASIS FOR RELIEF REQUESTED

                          9.      Bankruptcy Rule 1015(b) provides, in relevant part, that “[i]f . . . two or

         more petitions are pending in the same court by or against . . . a debtor and an affiliate, the court

         may order a joint administration of the estates.” Fed. R. Bankr. P. 1015(b). The Debtors are

         “affiliates” of each other as that term is defined in section 101(2) of the Bankruptcy Code, as Pyxus

         International, Inc. directly or indirectly owns one hundred percent (100%) of the equity interests

         in all of the other Debtors. Further, the Debtors comprise a single business with highly integrated

         operations that rely on an interconnected network of lenders, suppliers, vendors and customers.

         This Court thus is authorized to consolidate the Debtors’ cases for procedural purposes.

                          10.     Local Rule 1015-1 provides additional authority for the Court to order joint

         administration of these Chapter 11 Cases:

                          An order of joint administration may be entered, without notice and
                          an opportunity for hearing, upon the filing of a motion for joint
                          administration pursuant to Fed. R. Bankr. P. 1015, supported by an
                          affidavit, declaration or verification, which establishes that the joint
                          administration of two or more cases pending in the Court under title
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                         11 is warranted and will ease the administrative burden for the Court
                         and the parties. An order of joint administration entered in
                         accordance with this Local Rule may be reconsidered upon motion
                         of any party in interest at any time. An order of joint administration
                         under this Local Rule is for procedural purposes only and shall not
                         cause a “substantive” consolidation of the respective debtors’
                         estates.

         Del. Bankr. L.R. 1015-1.

                         11.     The First Day Declaration establishes that joint administration of the

         Debtors’ cases is warranted because it will ease the administrative burden on the Court and all

         parties in interest. Joint administration of the Debtors’ cases will eliminate the need for duplicate

         pleadings, notices and orders in each of the respective dockets and will save the Court, the Debtors

         and other parties in interest substantial time and expense when preparing and filing such

         documents. Further, joint administration will protect parties in interest by ensuring that they will

         be apprised of the various motions filed with the Court with respect to each of the Debtors’ cases.

         Therefore, joint administration of the Debtors’ cases is appropriate under Bankruptcy Rule 1015(b)

         and Local Rule 1015-1.

                         12.     Joint administration will not adversely affect the Debtors’ respective

         constituencies because this motion seeks only administrative, not substantive, consolidation of the

         Debtors’ estates. Parties in interest will not be harmed by the relief requested; instead, parties in

         interest will benefit from the cost reductions associated with the joint administration of these

         Chapter 11 Cases. Accordingly, the Debtors submit that the joint administration of these Chapter

         11 Cases is in the best interests of their estates, their creditors and all other parties in interest.

                         13.     Finally, the Debtors submit that use of the simplified caption, without

         reference to the Debtors’ tax identification numbers, addresses and previous names, will eliminate

         cumbersome and confusing procedures and ensure uniformity of pleading identification. Other

         case-specific information will be listed in the petitions for the respective Debtors and such petitions
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         are publicly available and will be provided by the Debtors upon request. Therefore, the Debtors

         submit the policies behind the requirements of section 342(c)(1) of the Bankruptcy Code and

         Bankruptcy Rules 1005 and 2002(n) have been fully satisfied.

                          14.      Courts in this District have routinely granted relief similar to the relief

         requested in several other cases involving multiple related debtors.2 For these reasons, the Debtors

         submit that the relief requested is necessary and appropriate, is in the best interest of their

         respective estates and creditors and should be granted in all respects.

                                                            NOTICE

                          15.      The Debtors will provide notice of this Motion by facsimile, e-mail,

         overnight delivery or hand delivery to: (i) the Office of the United States Trustee for the District

         of Delaware; (ii) the holders of the thirty (30) largest unsecured claims against the Debtors on a

         consolidated basis; (iii) the United States Attorney’s Office for the District of Delaware; (iv) the

         attorneys general for the states in which the Debtors conduct business; (v) counsel to the Ad Hoc

         First Lien Group; (vi) counsel to the Ad Hoc Crossholder Group; (vii) the ABL Agent and counsel

         thereto; (viii) the DIP Agent and counsel thereto; (ix) the Internal Revenue Service; and (x) the

         Securities and Exchange Commission. Following the hearing, a copy of this Motion and any order

         entered with respect to it will be served on the foregoing parties and all parties having filed requests

         for notice in these Chapter 11 Cases. A copy of this Motion is also available on the Debtors’ case

         website at http://www.primeclerk.com/Pyxus.




         2
          See, e.g., In re Imerys Talc Am., Inc., Case No. 19-10289 (LLS) (Bankr. D. Del. Feb. 14, 2019) [Docket No. 52]; In
         re LBI Media, Inc., Case No. 18-12655 (CSS) (Bankr. D. Del. Nov. 21, 2018) [Docket No. 22]; In re ATD Corp., Case
         No. 1812221 (KJC) (Bankr. D. Del. Oct. 5, 2018) [Docket No. 97].
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                        16.     As this Motion is seeking “first day” relief, notice of this Motion and any

         order entered hereon will be served on all parties required by Local Rule 9013-1(m). Due to the

         urgency of the relief requested, the Debtors submit that no other or further notice is necessary.

                                  [Remainder of this page intentionally left blank]




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                         WHEREFORE, the Debtors request entry of the Proposed Order, substantially in

         the form attached hereto as Exhibit A, granting the relief requested herein and such other relief as

         is just and proper.

             Dated: June 15, 2020                 YOUNG CONAWAY STARGATT & TAYLOR, LLP
                    Wilmington, Delaware
                                                  /s/ Kara Hammond Coyle
                                                  Pauline K. Morgan (No. 3650)
                                                  Kara Hammond Coyle (No. 4410)
                                                  Ashley E. Jacobs (No. 5635)
                                                  Tara C. Pakrouh (No. 6192)
                                                  Rodney Square
                                                  1000 North King Street
                                                  Wilmington, Delaware 19801
                                                  Telephone:    (302) 571-6600
                                                  Facsimile:    (302) 571-1253
                                                  Email:        pmorgan@ycst.com
                                                                kcoyle@ycst.com
                                                                ajacobs@ycst.com
                                                                tpakrouh@ycst.com

                                                  - and -

                                                  SIMPSON THACHER & BARTLETT LLP

                                                  Sandeep Qusba (pro hac vice pending)
                                                  Michael H. Torkin (pro hac vice pending)
                                                  Kathrine A. McLendon (pro hac vice pending)
                                                  Nicholas E. Baker (pro hac vice pending)
                                                  Daniel L. Biller (pro hac vice pending)
                                                  Jamie J. Fell (pro hac vice pending)
                                                  425 Lexington Avenue
                                                  New York, New York 10017
                                                  Telephone:      (212) 455-2000
                                                  Facsimile:      (212) 455-2502
                                                  Email:          squsba@stblaw.com
                                                                  michael.torkin@stblaw.com
                                                                  kmclendon@stblaw.com
                                                                  nbaker@stblaw.com
                                                                  daniel.biller@stblaw.com
                                                                  jamie.fell@stblaw.com

                                                  Proposed Counsel to the Debtors and Debtors in Possession


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                                     Exhibit A

                               Proposed Order




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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                              )
             In re:                           )       Chapter 11
                                              )
             GSP PROPERTIES, LLC              )       Case No. 20-11569 (___)
                                              )
                     Debtor.                  )       Tax I.D. No. XX-XXXXXXX
                                              )
                                              )
             In re:                           )       Chapter 11
                                              )
             PYXUS INTERNATIONAL, INC.        )       Case No. 20-11570 (___)
                                              )
                     Debtor.                  )       Tax I.D. No. XX-XXXXXXX
                                              )
                                              )
             In re:                           )       Chapter 11
                                              )
             ALLIANCE ONE INTERNATIONAL, LLC )        Case No. 20-11571 (___)
                                              )
                     Debtor.                  )       Tax I.D. No. XX-XXXXXXX
                                              )
                                              )
             In re:                           )       Chapter 11
                                              )
             ALLIANCE ONE NORTH AMERICA, LLC )        Case No. 20-11572 (___)
                                              )
                     Debtor.                  )       Tax I.D. No. XX-XXXXXXX
                                              )
                                              )
             In re:                           )       Chapter 11
                                              )
             ALLIANCE ONE SPECIALTY PRODUCTS, )       Case No. 20-11573 (___)
             LLC                              )
                                              )       Tax I.D. No. XX-XXXXXXX
                     Debtor.                  )
                                              )




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                   ORDER DIRECTING JOINT ADMINISTRATION OF CHAPTER 11 CASES


                             Upon consideration of the motion (the “Motion”)1 for entry of an order (this

         “Order”) directing the Debtors’ Chapter 11 Cases to be jointly administered for procedural

         purposes only and granting certain related relief, all as more fully set forth in the Motion; and due

         and sufficient notice of the Motion having been provided under the particular circumstances, and

         it appearing that no other or further notice need be provided; and the Court having jurisdiction to

         consider the Motion and the relief requested therein in accordance with 28 U.S.C. §§ 157 and 1334

         and the Amended Standing Order of Reference from the United States District Court for the District

         of Delaware dated as of February 29, 2012; and consideration of the Motion and the relief

         requested therein being a core proceeding under 28 U.S.C. § 157(b)(2); and the Court having

         authority to enter a final order consistent with Article III of the United States Constitution; and

         venue being proper before this Court under 28 U.S.C. §§ 1408 and 1409; and a hearing having

         been held to consider the relief requested in the Motion (the “Hearing”); and upon the First Day

         Declaration and the record of the Hearing and all the proceedings before the Court; and the Court

         having found such relief to be in the best interests of the Debtors, their estates and creditors and

         any parties in interest; and the legal and factual bases set forth in the Motion and at the Hearing

         having established just cause for the relief granted herein; and after due deliberation thereon and

         sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

                             1.       The Motion is granted as set forth herein.




         1
             Capitalized terms used but otherwise not defined herein shall have the meanings set forth in the Motion.
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                          2.       Each of the above-captioned Chapter 11 Cases of the Debtors are

         consolidated for procedural purposes only and shall be jointly administered by the Court under

         Case No. 20-11570 (__).

                          3.       Nothing contained in the Motion or this Order is to be deemed or construed

         as directing or otherwise effecting a substantive consolidation of these Chapter 11 Cases.

                          4.       The caption of the jointly administered cases shall read as follows:

                                     IN THE UNITED STATES BANKRUPTCY COURT
                                          FOR THE DISTRICT OF DELAWARE

                                                                 §
             In re:                                              §    Chapter 11
                                                                 §
             PYXUS INTERNATIONAL, INC., et al.,                  §
                                                                 §    Case No. 20-11570 (__)
                                       Debtors.                  §
                                                                 §    (Joint Administration Requested)
                                                                 §
                                                                 §

                          5.       All pleadings and notices shall be captioned as indicated in the preceding

         decretal paragraph, and all original docket entries shall be made in the case of Pyxus International,

         Inc., Case No. 20-11570 (__).

                          6.       A docket entry shall be made in each of the Debtors’ cases (except that of

         Pyxus International, Inc.) substantially similar to the following:

                          An order has been entered in this case consolidating this case with
                          the case of Pyxus International, Inc. (Case No. 20-11570 (__)) for
                          procedural purposes only and providing for its joint administration
                          in accordance with the terms thereof. The docket in Case No. 20-
                          11570 (__) should be consulted for all matters affecting this case.

                          7.       The Debtors are directed to include the following footnote to each pleading

         they file and notice they mail in these cases, listing the Debtors in these Chapter 11 Cases and the

         last four numbers of their tax identification numbers along with the address of the Debtors’

         corporate headquarters only:

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                        The Debtors in the Chapter 11 Cases, along with the last four digits
                        of each Debtor’s United States federal tax identification number,
                        are: Pyxus International, Inc. (6567), Alliance One International,
                        LLC (3302), Alliance One North America, LLC (7908), Alliance
                        One Specialty Products, LLC (0115) and GSP Properties, LLC
                        (5603). The Debtors’ mailing address is 8001 Aerial Center
                        Parkway, Morrisville, NC 27560-8417.

                        8.       The caption set forth above shall be deemed to satisfy any applicable

         requirements of section 342(c)(1) of the Bankruptcy Code and Bankruptcy Rules 1005 and

         2002(n).

                        9.       The terms and conditions of this Order are immediately effective and

         enforceable upon its entry.

                        10.      The Debtors are authorized and empowered to take all actions necessary or

         appropriate to implement the relief granted in this Order.

                        11.      This Court retains jurisdiction over all matters arising from or related to the

         implementation or interpretation of this Order.

         Dated                , 2020
                 Wilmington, Delaware


                                                        UNITED STATES BANKRUPTCY JUDGE




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